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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

  STATE FARM MUTUAL
  AUTOMOBILE INSURANCE
  COMPANY,                                       Case No. 2:16-cv-13040
           Plaintiff,                            District Judge Avern Cohn
  v.                                             Magistrate Judge Anthony P. Patti

  ELITE HEALTH CENTERS, INC.,
  ELITE CHIROPRACTIC, P.C.,
  ELITE REHABILITATION, INC.,
  MIDWEST MEDICAL
  ASSOCIATES, INC., PURE
  REHABILITATION, INC., DEREK
  L. BITTNER, D.C., P.C., MARK A.
  RADOM, DEREK LAWRENCE
  BITTNER, D.C., RYAN MATTHEW
  LUKOWSKI, D.C., MICHAEL P.
  DRAPLIN, D.C., NOEL H. UPFALL,
  D.O., MARK J. JUSKA, M.D.,
  SUPERIOR DIAGNOSTICS, INC.,
  CHINTAN DESAI, M.D., MICHAEL
  J. PALEY, M.D., DEARBORN
  CENTER FOR PHYSICAL
  THERAPY, L.L.C., MICHIGAN
  CENTER FOR PHYSICAL
  THERAPY, INC., and JAYSON
  ROSETT
             Defendants.
  _________________________/

     OPINION AND ORDER DENYING NONPARTY KOTZ SANGSTER
      WYSOCKI P.C.’S MOTION FOR RECONSDIERATION (DE 284)
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        This matter is before the Court for consideration of Nonparty Kotz Sangster

  Wysocki P.C.’s motion for reconsideration of the Court’s July 31, 2018 Order (DE

  265) granting in part and denying in part State Farm Mutual Insurance Company’s

  amended motion to compel Kotz Sangster and Keith Soltis to produce documents

  responsive to subpoenas. (DE 284). For the reasons set forth below, Kotz

  Sangter’s motion for reconsideration is DENIED.

        A.    Procedural History

              1. State Farm Mutual’s motion to compel Kotz Sangster and
                 Soltis to produce documents responsive to subpoenas

        Plaintiff State Farm Mutual Insurance Company (State Farm Mutual) filed a

  motion to compel nonparties Kotz Sangster Wysocki P.C. (Kotz Sangster), a law

  firm, and Keith Soltis, a partner at Kotz Sangster, to produce documents responsive

  to subpoenas. (DEs 150-151, 189).1 According to State Farm Mutual’s motion, it

  served subpoenas on Kotz Sangster and Soltis on December 7, 2017. Kotz

  Sangster served general objections to the subpoena, including objecting that the

  subpoena “directly impinges on attorney-client privilege” and about the cost of

  compliance with the subpoena. Soltis also served his general objections, adopting

  Kotz Sangster’s objections. State Farm Mutual advised that it was not seeking

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    State Farm Mutual filed an amended motion (DE 189) to replace the motion to
  compel and sealed motion to compel originally filed against Kotz Sangster and
  Soltis on May 15, 2018, which contained a sealed exhibit (Exhibit 17). (DEs 150,
  151.) The only changes to the motion were the unsealing of Exhibit 17 and the
  removal of redactions that were contained in the motion that relate to Exhibit 17.
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  privileged communications at this time, the parties exchanged a list of proposed

  ESI search terms, and Kotz Sangster, on behalf of itself and Soltis, offered to

  review a universe of about 2,000 potentially responsive non-privileged documents,

  but added a demand that State Farm Mutual agree to pay Kotz Sangster’s legal fees

  of $4,000. State Farm Mutual disputes that it should be required to pay Kotz

  Sangster’s legal fees because it has taken reasonable steps to avoid imposing undue

  burden or expense on Kotz Sangster and Soltis, and thus filed the motion to

  compel.

               2. Nonparties Kotz Sangster’s and Soltis’s response in opposition
                  to the motion to compel

        On May 31, 2018, Kotz Sangster and Soltis filed their response to State

  Farm Mutual’s motion to compel. (DE 168.) They argued that “the underlying

  issue here is not a ‘refusal’” to produce documents, but rather that the subpoenas,

  and even having to respond to the motion to compel, impose an “undue burden”

  because Kotz Sangster “estimates that it must invest at least $4000 in attorney

  time” to conduct a privilege review, and because the motion to compel “is

  predicated on a thorough misunderstanding of applicable law” regarding the

  formation of non-profit corporations, citing Michigan Attorney General Opinion

  No. 6770 and Miller v. Allstate Insurance Company, 481 Mich. 601 (2008) in

  support. The response further argues that the motion to compel grossly distorts the

  underlying facts and is interposed “to intimidate and harass Mr. Soltis,” and that
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  the motion “should be denied, or if granted in any limited way, costs imposed [sic]

  for non-party compliance.” (DE 168 at 17.)

               3. State Farm Mutual’s reply brief in support of its motion

        On June 14, 2018, State Farm Mutual filed its reply brief in support of its

  motion to compel, noting first the arguments absent from the response brief:

        Kotz Sangster and Soltis do not: (1) address their primary objection to
        producing documents, that they want attorney fees, (2) address the
        controlling Rule 26 factors, (3) establish undue burden in complying
        with the subpoenas, or (4) argue the inapplicability of the crime-fraud
        exception, except to incorrectly state that a lawyer cannot waive
        privilege, even in connection with a crime or fraud.

  (DE 204.) State Farm Mutual goes on to contend that the nonparties’ argument

  that Soltis’s role in the conduct alleged was minimal is “belied by the numerous

  emails and other documents cited in the Motion,” and that their argument that the

  subpoenas “serve no valid purpose” because Miller v. Allstate stands for the

  proposition that Michigan non-profit corporations are entitled to an “irrebuttable

  presumption” of legality ignores SFMAIC v. Universal Health Grp., Inc., 2014 WL

  5427170, at *12 (E.D. Mich. Oct. 24, 2014), which explained that because

  “plaintiff argues that [UHG] is behaving contrary to its corporate status as a non-

  profit, and that this behavior makes it part of an enterprise designed to defraud

  plaintiff[,]” “Miller does not bar such a claim.” State Farm Mutual argues that the

  nonparties “should be compelled to produce responsive documents and bear their

  own costs incurred as the result of any privilege review,” that they have not met
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  their burden to establish undue burden, and that the crime-fraud exception may

  apply.2

               4. The joint statement of resolved and unresolved issues

        In their July 16, 2018 joint statement of resolved and unresolved issues,

  Kotz Sangster states that “subject to its ethical obligations to protect its clients’

  attorney-client privilege, and Kotz Sangster’s pending motion for leave to file a

  sur-reply [], Kotz Sangster does not object to producing documents responsive to

  State Farm Mutual’s subpoena.” (DE 242-4.) The joint statement goes on to state

  that Plaintiff and Kotz Sangster have identified two remaining unresolved issues:

  (1) primarily, whether State Farm Mutual should be required to pay Kotz

  Sangster’s legal fees incurred to conduct a privilege review of responsive

  documents before being required to produce them; and (2) whether the crime-fraud

  exception would vitiate any potential privilege claims to be made by Kotz

  Sangster.

               5. The Court’s July 31, 2018 Order

        On July 31, 2018, the Court issued an order granting in part and denying in

  part State Farm Mutual’s motion to compel. (DE 265.) The Court found that

  although Kotz Sangster and Soltis generally objected to producing documents

  responsive to the subpoenas based on an “undue burden,” they have failed to

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   On July 12, 2018, Kotz Sangster filed a motion for leave to file a sur-reply. (DE
  241.) That motion was denied on July 17, 2018. (Text-only Order, July 17, 2018.)
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  support that assertion with affidavits or other evidence to substantiate the

  objection, and that State Farm Mutual was not required to pay Kotz Sangster’s

  legal fees to conduct a privilege review. The Court also found that State Farm

  Mutual’s argument regarding the crime-fraud exception was not ripe because State

  Farm Mutual expressly stated that it is not requesting privileged communications at

  this time.

               6. Kotz Sangster’s motion for reconsideration

        On August 13, 2018, Kotz Sangster filed the instant motion for

  reconsideration of the Court’s July 31, 2018 Order. (DE 284.) Nonparty Kotz

  Sangster contends that the Court’s Order contains two palpable defects: (1) the

  Court “misread[] the ‘remaining unresolved issues’ [per the Joint Statement, DE

  242-4] as limited to the payment of legal fees for a ‘privilege review’ and ‘whether

  the “crime-fraud” exception would vitiate any potential privilege claims to be

  made by Kotz Sangster” and (2) the Order improperly reject[ed] Kotz Sangster’s

  undue burden argument. (DE 284 at 2-3.)

        B.     Standard for Reconsideration

        E.D. Mich. LR 7.1(h) allows a party to file a motion for reconsideration.

  Under the rule, a motion for reconsideration may only be granted if the movant

  demonstrates a palpable defect by which the court and the parties have been misled

  and shows that correcting the defect will lead to a different disposition of the case.


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  E.D. Mich. LR 7.1(h)(3). A “palpable defect” is a defect that is obvious, clear,

  unmistakable, manifest, or plain. Witzke v. Hiller, 972 F. Supp. 426, 427 (E.D.

  Mich. 1997). However, a motion for reconsideration which presents the same

  issues already ruled upon by the court, either expressly or by reasonable

  implication, will not be granted. Ford Motor Co. v. Greatdomains.com, Inc., 177

  F.Supp.2d 628, 632 (E.D. Mich. 2001). Further, new arguments “raised for the

  first time in a motion for reconsideration at the district court generally [are]

  forfeited.” United States v. Huntington Nat’l Bank, 574 F.3d 329, 331-32 (6th Cir.

  2009). “Instead, the moving party must show that the Court made a mistake based

  on the record before it, and rectifying the mistake would change the outcome.”

  Southfield Educ. Ass’n v. Bd. of Educ. of the Southfield Pub. Sch., 319 F.Supp.3d

  898, 902 (E.D. Mich. 2018).

        C.     Analysis

        For the reasons that follow, Kotz Sangster’s motion for reconsideration is

  DENIED.

               1. Kotz Sangster fails to demonstrate a palpable defect regarding
                  the Court’s analysis of the resolved and unresolved issues

        The parties’ Joint Statement of Resolved and Unresolved Issues states:

                                 RESOLVED ISSUES

        During the meet-and-confer, counsel for Kotz Sangster agreed that,
        subject to its ethical obligation to protect its clients’ attorney-client
        privilege, and Kotz Sangster’s pending motion for leave to file a sur-
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        reply [Dkt 241], Kotz Sangster does not object to producing
        documents responsive to State Farm Mutual’s subpoena.

  (DE 242-4 at 2.) The parties’ Joint Statement goes on to state:

                               UNRESOLVED ISSUES

        One primary issue remains, namely whether State Farm Mutual
        should be required to pay Kotz Sangster’s legal fees incurred to
        conduct a privilege review of responsive documents before Kotz
        Sangster is required to produce them. Additionally, and subject to
        Kotz Sangster’s privilege review, the parties likewise did not
        reach agreement concerning whether the crime-fraud exception
        would vitiate any potential privilege claims to be made by Kotz
        Sangster.

  (DE 242-4 at 2-3 (emphases added).) Accordingly, those are the two issues the

  Court addressed in its Order on Plaintiff’s motion to compel. (DE 265.)

        Kotz Sangster now asserts that the Court “oversimplified” the resolved

  versus unresolved issues because the statement of “Resolved Issues” was

  “expressly ‘subject to … Kotz Sangster’s pending motion for leave to file a sur-

  reply[,]’” “which sought to further address Kotz Sangster’s fundamental argument

  that the entire predicate for the challenged Subpoena is legal gibberish[.]” (DE 284

  at 2.) This argument fails to demonstrate a palpable defect entitling Kotz Sangster

  to reconsideration of the Court’s Order.

        First, Kotz Sangster’s attempt to condition the resolved issue on its then-

  pending motion to file a sur-reply is simply improper bootstrapping. In an

  adversarial system such as ours, the Court relies upon the parties to frame the


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  issues. Kotz Sangster essentially asks the Court to now retrospectively reframe the

  issues based upon what was in a sur-reply brief that the Court refused to accept.

  The Court properly exercised its discretion in denying Kotz Sangster’s request for

  leave to file a sur-reply. (Text-only Order, July 17, 2018.) As made clear in the

  local rules and my practice guidelines, sur-reply briefs are disfavored. See E.D.

  Mich. LR 7.1; Practice Guidelines, Motion Practice (“Additional briefing,

  including sur-replies, will NOT be permitted unless requested by the Court. The

  Court will strike any improperly filed sur-replies or other briefing not

  contemplated by the Local Rules.”). Other courts have consistently stated that

  “[s]ur-replies … are highly disfavored, as they usually are a strategic effort by the

  nonmoving party to have the last word on a matter.” See, e.g., Liberty Legal

  Foundation v. National Democratic Party of the USA, Inc., 875 F.Supp.2d 791,

  797 (W.D. Tenn. 2012) (citations omitted). The Sixth Circuit has held that a

  district court does not abuse its discretion in denying leave to file a sur-reply where

  the opposing party’s reply did not raise any new legal arguments or introduce new

  evidence. Modesty v. Shockley, 434 F. App’x 469, 472 (6th Cir. 2011) (citing Seay

  v. Tenn. Valley Auth., 339 F.3d 454, 481-82 (6th Cir 2003)). State Farm Mutual

  did not raise new arguments in its reply brief filed in support of its motion to

  compel, but rather responded to Kotz Sangster’s arguments asserted in its response

  brief and re-asserted its arguments in support of its motion to compel. Plaintiff’s


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   sur-reply was simply an attempt to have the last word on the matter, which is

   precisely the reason that sur-reply briefs are so consistently disfavored. The Court

   detects – within the motion for reconsideration of its ruling on DE 265 – a more

   clandestine motion for reconsideration of its order denying the request to file a sur-

   reply brief. But that ship has long ago sailed. Moreover, it is not reasonable to

   insert an argument in a motion for leave to file a sur-reply brief, fully aware that it

   is likely to be denied under the case law, local rules and practice guidelines, and

   then expect to rely upon that imbedded argument as an “ace-in-the-hole” later.3

         Second, Kotz Sangster’s contention that the Court improperly failed to

   address its argument that “the very predicate of Plaintiff’s witch hunt here is

   ‘fraudulent incorporation’ which … is legal gibberish,” and that “virtually every

   minute” it spends fending off this “nonsense” is an undue burden, including its

   citations to Miller v. Allstate Insurance Company, 481 Mich. 601 (2008) and

   Michigan Attorney General Opinion No. 6770 (Sept. 17, 1993), is of no moment.

   (See DE 284 at 2.) As Judge Cox previously explained in this case:

         State Farm does not bring a claim under the Michigan Non-Profit Act.
         Nor does State Farm dispute that the defendant entities were properly

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     Among other things, Kotz Sangster’s motion for leave to file a sur-reply brief
   complained that State Farm Mutual had waited until its reply brief to distinguish
   Kotz Sangster’s cited authority; however, that is what the moving party typically
   (and permissibly) does in a reply brief, i.e., distinguish cases cited by the
   respondent. Kotz Sangster’s argument that “failing to do so until its reply brief
   unfairly leaves Kotz Sangster with no opportunity to respond” makes clear that it
   was indeed seeking to get the last word on the matter. (DE 241 at 2.)
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         incorporated as non-profits. Instead, State Farm alleges that, while the
         defendant entities are incorporated as non-profits, their real purpose is
         to enable Defendants Bittner and Radom to engage in fraud.
         Specifically, State Farm alleges that the nonprofit entities named as
         defendants in this case behave contrary to their non-profit corporate
         status, and that this behavior makes these entities essential players in
         the scheme to defraud State Farm out of money for the benefit of their
         owners.

   (DE 59 at 12.) Thus, State Farm Mutual is not asserting here that the defendants

   were improperly incorporated and does not seek to revoke the corporate charters.

   Instead, it argues that the defendants are behaving contrary to their corporate status

   as non-profits, and that this behavior is part of an enterprise designed to defraud it.4

   As this Court has explained in a previous lawsuit in which the defendant similarly

   relied on Miller in support of the proposition that the plaintiff may not argue that

   the defendant’s non-profit status is a sham, “Miller does not bar such a claim.” See

   State Farm Mut. Auto. Ins. Co. v. Universal Health Gp., Inc., No. 14-cv-10266,

   2014 WL 5427170, at *12 (E.D. Mich. Oct. 24, 2014). Accordingly, Kotz

   Sangster’s argument is a non-starter, as it cannot show that the Court palpably


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     Kotz Sangster leapfrogs from these allegations to a conclusion which is not
   apparent on the face of the pleadings, defensively arguing that, “Apparently, to
   Plaintiff[‘]s way of thinking, any attorney who ever represented a criminally
   accused corporation is, ipso facto, ‘guilty’ by association. No attorney was ever
   ‘charged’, or even sued, for representing Enron, or Bernie Madoff, or even
   Timothy McVeigh.” (DE 284 at 17.) The Court finds no need to make an
   inference of “guilt by association” in order to rule on this discovery motion seeking
   the production of records, and need not embrace the trajectory suggested by Kotz
   Sangster in ruling against it.

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   erred in not expressly addressing this argument in its Order, or that correcting the

   claimed “defect” would lead to a different disposition of the matter. See E.D.

   Mich. LR 7.1(h)(3).

         Kotz Sangster also takes issue with the Court’s citation to Hennigan v.

   General Electric, No. 09-11912, 2012 WL 13005370 (E.D. Mich. Apr. 2, 2012),

   arguing that this case is factually distinguishable because it “does not address a

   non-party attorney, seeking FRCP 45 attorney fees to compensate for the undue

   burden of conducting a privilege review.” (DE 284 at 14.) This argument, again,

   is not well taken. The Court noted in its Order that Federal Rule of Civil

   Procedure 45(d)(2) provides that “[a] party or attorney responsible for issuing a

   subpoena must take reasonable steps to avoid imposing an undue burden or

   expense on a person subject to the subpoena[,]” and that Rule 45(d)(2)(B)(ii)

   protects non-parties who object to the subpoena from incurring “significant

   expense resulting from compliance.” Here, State Farm does appear to have taken

   reasonable steps to avoid imposing an undue burden, advising Kotz Sangster that it

   was not seeking privileged communications at this time and exchanging a list of

   ESI search terms, which apparently lead to a more limited universe of potentially

   responsive documents. In any case, the Court only cited Hennigan for the general

   propositions that “protection of a non-party from significant expense does not

   necessarily mean that the party issuing the subpoena must bear the entire cost of


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   compliance” and that “a privilege review does not benefit the requesting party and

   is generally an expense that, absent some unusual circumstances, should be borne

   by the responding party,” and found that “Kotz Sangster and Soltis have failed to

   present evidence of any such ‘unusual circumstances’ in this case or otherwise cite

   any law to the contrary.” (DE 265 at 4-5, citing Hennigan, 2012 WL 13005370, at

   *2.)

          State Farm Mutual had discussed Hennigan in its underlying motion to

   compel for these same principles. (DE 189 at 29-30.) Kotz Sangster did not even

   address Hennigan and the principles discussed above in its response brief, much

   less cite to any contrary law. (DE 168.) State Farm Mutual again discussed

   Hennigan and the principles discussed above in its reply brief (DE 204 at 6-7), but

   Kotz Sangster again failed to even address Hennigan in its motion for leave to file

   a sur-reply. (DE 241.) Kotz Sangster finally addressed Hennigan for the first time

   in the instant motion for reconsideration. (DE 284 at 4-6.) However, this is too

   late, as “[a] motion for reconsideration is not intended as a means to allow a losing

   party simply to rehash rejected arguments or to introduce new arguments.”

   Southfield Educ. Ass’n, 319 F.Supp.3d at 901 (citing Sault Ste. Marie Tribe of

   Chippewa Indians v. Engler, 146 F.3d 367, 374 (6th Cir. 1998) (“Thus, parties

   should not use [motions to reconsider] to raise arguments which could, and should,

   have been made before judgment issued.”)).


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         In any event, even considering Kotz Sangster’s untimely argument, it again

   fails to cite any contrary law in its motion for reconsideration or otherwise

   demonstrate a palpable error by the Court, and instead relies on Hennigan for the

   proposition that attorney fees have been denied “[w]here such legal fees ‘appear

   largely related to efforts by the [responding party] to protect its own interests in

   connection with its compliance with the subpoena, by independently reviewing

   these documents itself to determine claims of privilege it might assert.’” (DE 284

   at 14, citing Hennigan, 2012 WL 13005370, at *2.) Kotz Sangster contends that it

   “stands in different shoes” than did the responding party in Hennigan because Kotz

   Sangster does not assert a privilege here to protect its own interests—only the

   ethical obligations imposed by MRPC 1.6. (DE 284 at 14-15, also citing In re

   Automotive Refinishing Paint, 229 F.R.D. 482, 496 (E.D. Pa. 2005) and Lefta v.

   Hurley, No. 1:09-CV-2487, 2011 WL 1793265 (M.D. Pa. May 11, 2011).)

   However, that the court in Hennigan declined to award attorneys’ fees against the

   requesting party under the facts of that case simply does not compel the opposite

   result in this case, as Kotz Sangster seems to suggest. It is well settled that

   decisions on matters pertaining to discovery, including subpoena compliance, rest

   in the sound discretion of the trial court and will not be disturbed absent a showing

   of an abuse of that discretion. See Bush v. Dictaphone Corp., 161 F.3d 363, 367

   (6th Cir 1988) (“The scope of discovery is, of course, within the broad discretion


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   of the trial court.”). That showing has not been made here. Moreover, the Court

   notes that, contrary to Kotz Sangster’s insinuation, it is not unusual for a law firm

   to be required to supply records relating to incorporation in a commercial case, or

   for a law firm to have to supply testimony regarding incorporation. Occasionally

   having to do so is part of the cost of doing business. Kotz Sangster simply has not

   met its burden to demonstrate a palpable defect. See E.D. Mich. LR 7.1(h)(3).

                2. Kotz Sangster fails to demonstrate a palpable defect regarding
                   undue burden

         Kotz Sangster also contends that it appropriately satisfied its assertion of

   “undue burden” by simply asserting in its response “the estimated costs of

   reviewing the universe of documents to cull out the privileged from the non-

   privileged [documents],” in accord with its Rule 11 obligations, and that the Court

   palpably erred by finding that it was required to support its general assertion of

   “undue burden” with an affidavit or other evidence. (DE 284 at 6.) Kotz Sangster

   argues that such a requirement elevates “form over substance,” since the attorney’s

   signature on its brief should suffice, and rhetorically asks, “Someone else is

   supposed to sign an ‘affidavit’ to the same effect?” (DE 284 at 15.) However, in

   making this argument, Kotz Sangster ignores well-settled law that, “[i]f an

   objection is interposed based on an alleged undue burden, the objecting party must

   make ‘a specific showing, usually … by affidavit, of why the demand is

   unreasonably burdensome.” Jones-McNamara v. Holzer Health Sys., No. 2:13-cv-
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   616, 2014 WL 3563406, at *1 (S.D. Ohio July 18, 2014) (citing McFadden v.

   Ballard, Spahr, Andrews & Ingersoll, LLP, 243 F.R.D. 1, 11 (D.D.C. 2007)); see

   also State Farm Mut. Auto. Ins. Co. v. Physiomatrix, Inc., No. 12-cv-11500, 2013

   WL 10936871, at *14 (E.D. Mich. Nov. 26, 2013) (“[W]here [the respondent] has

   not supported his claim of burden by affidavit or otherwise, his bare assertion is

   insufficient to permit refusal to comply with the subpoena in its entirety.”); Powell

   v. Tosh, No. 5:09-CV-121-TBR, 2011 WL 13210026, at *3 (W.D. Ky. Aug. 2,

   2011) (“The Tosh Defendants correctly point out that the Plaintiffs fail to offer

   specific facts to support their general protests of embarrassment, oppression, undue

   burden or expense. No affidavit or other evidence accompanies their motion. As

   the above-cited law explains, such allegations are not sufficient.”).

         If Kotz Sangster were correct, and an attorney’s signature were enough to

   satisfy a party’s evidentiary burden, no motion, even a motion for summary

   judgment, would require more than an attorney’s signature. Nor would evidentiary

   hearings ever be required in support of pre-trial motion practice. Likewise, the

   badly overused general objection that a discovery request is “unduly burdensome”

   would stand alone on the signing attorney’s say-so, with no other basis – let alone

   a foundation which is shown to be based on first-hand knowledge by someone who

   is actually responsible for keeping the records in the ordinary course of business or

   for assembling the requested discovery – for the Court to meaningfully explore and


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   balance the discoverability factors listed in Fed. R. Civ. P. 26(b)(1), including

   “whether the burden or expense of the proposed discovery outweighs the likely

   benefit.” Here it is worth noting that ̶ contrary to Kotz Sangster’s assertion in the

   parties’ Joint Statement that “Rule 26(b)(1) is only tangentially relevant” here (DE

   242-4 at 4) ̶ “the scope of discovery under a subpoena is the same as the scope of

   discovery under Rule 26,” Medical Ctr. at Elizabeth Place, LLC v. Premier Health

   Partners, 294 F.R.D. 87, 92 (S.D. Ohio 2013) (citation omitted), and thus “[a]

   subpoena to a third party under Rule 45 is subject to the same discovery limitations

   as those set out in Rule 26.” United States v. Blue Cross Blue Shield of Michigan,

   No. 10-14155, 2012 WL 4513600, at *5 (E.D. Mich. Oct. 1, 2012).

         The Court recognizes that responding to discovery is generally bothersome,

   and may indeed be, at least to some extent, burdensome. It also recognizes that

   only the rare recipient of a discovery request would relish the task of responding,

   particularly if it also entailed a privilege review. But the fact that it will be either

   bothersome or burdensome to respond to a discovery request does not necessarily

   mean that it will be unduly so. In light of their responsibility to ensure that parties

   “obtain discovery regarding any nonprivileged matter that is relevant to the party’s

   claim,” while also ensuring that the rules are employed so as to “secure the just,

   speedy, and inexpensive determination of every action,” it is reasonable for the

   courts to require more detail and support than just an attorney’s proclamation of


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   “undue burden” in order to preclude or circumscribe discovery on this basis. Fed.

   R. Civ. P. 26(b)(1) and Fed. R. Civ. P. 1. As a recent article explained, “it is clear

   that ‘undue burden’ for purposes of nonparty discovery does not mean no burden at

   all[,]” and recipients of subpoenas should “[b]e prepared to support allegations of

   undue burden with detailed cost and time calculations, supported by

   knowledgeable declarations.” Matt Hamilton, Donna Fisher & Sandra Adams,

   Does Rule 45 Protect Nonparties from Undue Burden, Law360 (Oct. 2, 2018),

   http://www. law360.com/appellate/articles/1088653. In any event, Kotz Sangster

   does not contend in its motion for reconsideration that it made such a showing, and

   thus has failed to demonstrate a palpable defect.

           At bottom here, Kotz Sangster is simply re-arguing in its motion for

   reconsideration that it should be paid for its time and effort to conduct a privilege

   review before it must produce documents responsive to the subpoenas. Indeed, as

   it asserts in its motion for reconsideration, “simply put, Kotz Sangster’s position

   regarding the Subpoena is ‘if you pay us, we’ll dance around the mulberry bush; if

   you won’t pay us, this Subpoena is predicated on an erroneous reading of

   Michigan law and should not be enforced.’” (DE 284 at 3). This issue has been

   properly decided by this Court, and E.D. Mich. LR 7.1 makes clear that “the Court

   will not grant motions for rehearing or reconsideration that merely present the

   same issues ruled upon by the court, either expressly or by implication.” E.D.


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   Mich. LR 7.1(h)(3).5 Moreover, it is well settled that decisions on matters

   pertaining to subpoena compliance rest in the sound discretion of the trial court and

   will not be disturbed absent an abuse of that discretion. State Farm Mut. Auto. Ins.

   Co. v. Spine Specialists of Mich., No. 14-13299, 2016 WL 8787121, at *3 (E.D.

   Mich. Mar. 14, 2016) (“[A] court has broad discretion over discovery matters, and

   in deciding discovery disputes, a magistrate judge is entitled to that same broad

   discretion, and his order is overruled only if the district court finds an abuse of

   discretion.”) (internal citation omitted). Accordingly, Kotz Sangster’s motion for

   reconsideration is DENIED.

          D.    Order

         For the reasons set forth above, Kotz Sangster Wysocki P.C.’S motion for

   reconsideration (DE 284) is DENIED. Kotz Sangster and Soltis shall produce

   documents responsive to State Farm Mutual’s subpoenas, as agreed in the parties’

   joint statement (DE 242-4 at 2), by October 25, 2018.




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     While Kotz Sangster was within its procedural rights to respond to State Farm’s
   original motion and to seek reconsideration of the Court’s order here, the Court
   cannot help but wonder how many billable hours have now been expended drafting
   briefs in an effort to obtain remuneration for responding to the subpoena at
   issue, compared with the number of billable hours which would have been required
   to conduct a privilege review and comply with the production request. A cost-
   benefit analysis might have avoided the expenditure of energy thus far undertaken
   by both Kotz Sangster and the Court.
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         IT IS SO ORDERED.

   Dated: October 11, 2018                s/Anthony P. Patti
                                          Anthony P. Patti
                                          UNITED STATES MAGISTRATE JUDGE



                                 Certificate of Service

   I hereby certify that a copy of the foregoing document was sent to parties of record
   on October 11, 2018, electronically and/or by U.S. Mail.

                                          s/Michael Williams
                                          Case Manager for the
                                          Honorable Anthony P. Patti




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